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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,
                                          CASE NO: 10-CR-20403

 v.                                       HON. NANCY G. EDMUNDS

 KWAME KILPATRICK,

      Defendant.
 _________________________________/


       UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION FOR
      EARLY TERMINATION OF SUPERVISED RELEASE (ECF No. 685)

        Defendant Kwame Kilpatrick should remain on supervised release to ensure

 payment of his significant restitution obligation to the IRS and to deter the

 reemergence of any criminal conduct. Kilpatrick cannot identify any substantive

 harm caused him by the full completion of his supervision. Finally, contrary to the

 claims of his attorney, Kilpatrick continues to claim that he is innocent of the 24

 felony charges of which the jury convicted him at trial. Kilpatrick’s continued lack

 of remorse and denial of guilt and responsibility counsel in favor of continuing his

 supervised release.




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                            FACTUAL BACKGROUND

       In March 2013, a jury convicted Kilpatrick of 24 felony counts of

 racketeering, extortion, bribery, wire fraud, tax evasion, and conspiracy related to

 his corrupt conduct as the Mayor of the City of Detroit and as a state legislator.

 Because of his serious criminal conduct and the real damage he did to the city, this

 Court sentenced him to 28 years in prison. The convictions and sentence were

 upheld on appeal. In January 2021, President Donald Trump commuted Kilpatrick’s

 prison sentence to the time he had already served, but maintained his three-year

 supervised release obligation, as well as the restitution order.

       After Kilpatrick’s release from prison in January 2021, he has been under

 supervised release for approximately 24 months. On December 27, 2022, Kilpatrick

 filed the instant motion for early termination of supervised release. He claims that

 he is no longer a threat to the community, has been rehabilitated, has been compliant

 with the terms of supervision, and needs to be free to travel to pursue his career.

 Kilpatrick’s attorney further asserts that Kilpatrick “unequivocally accepts

 responsibility for his criminal conduct.” ECF No. 685, PageID.18862.

                               STANDARD OF LAW

       Early termination of supervised release is permitted after the expiration of one

 year of supervised release, if the Court is satisfied that such action “is warranted by

 the conduct of the defendant released and the interest of justice.” 18 U.S.C. §


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 3583(e)(1). Early termination is not warranted as a matter of course and is only

 permitted where the defendant shows changed circumstances—such as

 exceptionally good behavior. United States v. Atkin, 38 F. App’x 196, 198 (6th Cir.

 2002). Factors to be considered include: (1) the nature and circumstances of the

 offense and the history and characteristics of the defendant, (2) the need to afford

 adequate deterrence to criminal conduct, (3) the need to protect the public from

 further crimes of the defendant, (4) the need to provide the defendant with needed

 education or vocational training, medical care, or other correctional treatment, (5)

 the kinds of sentence and sentencing range established or the applicable category of

 offense committed by the applicable category of defendant, (6) any pertinent policy

 statement issued by the United States Sentencing Commission, (7) the need to avoid

 unwarranted sentencing disparities among defendants with similar records who have

 been found guilty of similar conduct, and (8) the need to provide restitution to any

 victims. 18 U.S.C. §§ 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5),

 (a)(6), and (a)(7). Id.

                                    ARGUMENT

       Considering all of the factors set forth above, early termination of supervised

 release is not warranted in this case. Although Kilpatrick asserts he has been

 working and integrating into the community, this is not a basis for early termination.

 As one court has observed, “full compliance with the terms of supervised release is


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 what is expected of a person under the magnifying glass of supervised release and

 does not warrant early termination.” United States v. McKay, 352 F. Supp. 2d 359,

 361 (E.D.N.Y. 2005). Productive employment, while laudable, does not warrant

 early termination. United States v. Olivieri, 72 F. Supp. 3d 401, 403 (S.D.N.Y.

 2014).

       Kilpatrick committed very serious crimes, and he still owes a significant

 amount of restitution. The current balance of his restitution obligation in this

 criminal case is $193,303.61 to the Internal Revenue Service. 1 In addition, in the

 case of SEC v. Kwame Kilpatrick, Case No. 12-CV-12109 (E.D. Mich.), Kilpatrick

 owes the United States a civil penalty of $390,000, $122,922.87 in disgorgement,

 and $39,939 in prejudgment interest. This case related to Kilpatrick’s involvement

 in corruption and the acceptance of bribes in connection with his position as a

 Trustee of the Detroit pension systems. Kilpatrick also still owes $854,000 in

 restitution to the City of Detroit in the state criminal case connected to the text

 message scandal, and he has not made a payment to the city on this obligation since

 2013. Among other debts, Kilpatrick owes the IRS $634,000 on a federal tax lien

 for unpaid taxes.




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  Kilpatrick has already received credit for payments made by his co-defendant in
 this case on the restitution amount owed to the city, which was joint and several.
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       By continuing his supervised release, the Court can ensure that Kilpatrick will

 be under the supervision of this Court in connection with continuing efforts to collect

 restitution, fines, taxes, and disgorgement amounts. While incarcerated for years

 and on supervised release for two additional years, Kilpatrick has only made

 payments amounting to a little over $5,000 in this case. Remaining on supervised

 release provides a strong additional incentive for Kilpatrick to not obstruct efforts to

 collect on his many obligations. As this Court is well aware, Kilpatrick has a long

 history of seeking to thwart collection on his debts. See ECF No. 471, Government

 Sentencing Memorandum, PageID.15824-25. In People v. Kilpatrick, No. 08-

 010496 (Wayne County Circuit Court, May 25, 2010), the state court judge revoked

 Kilpatrick’s probation in that case and sent him back to jail, finding that he had

 repeatedly lied during the proceedings about his ability to repay the city on his

 restitution obligation. Kilpatrick had received hundreds of thousands of dollars from

 various sources after resigning as Mayor. He then proceeded to spend this money

 on a lavish lifestyle instead of paying off his restitution obligation.

       While under supervision in this federal case in 2022, Kilpatrick and his wife

 sought to raise $800,000 in order to purchase a residence in a luxurious gated

 community in Orlando, Florida for his new role as a “Pastor.” This effort was later

 canceled after media attention apparently raised too many questions. Thus, instead

 of living modestly, with the goal of paying off his obligations, Kilpatrick appears


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 ready and willing to resume his jet-setting lifestyle, with no intention of paying his

 debt owed to the tax payers stemming from his own tax evasion. By remaining on

 supervised release, this Court would retain the power to oversee similar efforts in

 the future by Kilpatrick to avoid his obligations for his own personal benefit.

       Although Kilpatrick complains about the limitations placed on his career and

 desire to go to speaking events, he is currently undergoing only low-intensity

 supervision by the Probation Office. As the Court knows, this means the limitations

 placed on Kilpatrick’s life and activities by his Probation Officer are not onerous

 and consist mainly of sending the officer a report on a monthly basis. Thus, the

 burden on Kilpatrick of continuing his supervision is light.

       In his motion, Kilpatrick claims that terminating his supervised release early

 will allow him to travel to speaking events. Kilpatrick claims that by being off

 supervision, he will be able to travel around the country freely to meet the needs of

 potential clients for his work. However, Kilpatrick cannot cite any instance wherein

 the Probation Officer would not allow him to travel to pursue any business

 opportunities during his supervision. With the early end of his supervision, this

 Court would lose part of its ability to ensure that Kilpatrick fully complies with his

 restitution obligations. Given the light burden and the lack of any need to end early,

 Kilpatrick’s motion should be denied.




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       Kilpatrick styles himself a “Pastor.” Work as a pastor places an individual in

 a position of trust over the contributions of his flock and the assets of his church.

 Such a position is rife with opportunities for fraud and abuse. His 24 prior felony

 convictions in this case evince a willingness to steal and abuse his positions of

 leadership. By remaining on supervised release, Kilpatrick has an added incentive

 to act with integrity in his new career.

       Finally, Kilpatrick’s attorney claims that the former Mayor “unequivocally

 accepts responsibility for his criminal conduct.” ECF No. 685, PageID.18862.

 However, based on Kilpatrick’s own statements in the media during a recent

 publicity tour, nothing could be further from the truth. Instead of just being thankful

 for his early release and accepting responsibility for his crimes and the harm he did

 to the people of the City of Detroit, Kilpatrick continues to deny the justice of the

 guilty verdicts rendered by a jury of his peers on the 24 counts of criminal conduct.

 In April 2022, during a national television interview on the Today show, Kilpatrick

 flatly denied his guilt. When asked if he did it, Kilpatrick responded, “Absolutely

 not.” He did admit that he committed perjury in the state case about his extramarital

 affair. But he unequivocally denied committing the 24 federal crimes of which the

 jury found him guilty. Similarly, during a television interview on Fox 2 Detroit in

 January 2022, Kilpatrick stated, “Well, I didn’t do it,” in reference to the crimes

 underlying his 28-year prison sentence. Kilpatrick’s actions in continuing to deny


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 responsibility to the public, and thereby undermining the community’s faith in the

 justice system, do not epitomize a humble person seeking to regain a quiet life of

 obeying the law. Instead, his statements demonstrate a need for continued vigilance

 over a man who refuses to accept the truth of his own guilt.

                                  CONCLUSION

       Kilpatrick is not being harmed by his current level of low supervision.

 Instead, he is being provided with strong incentives to comply with the law and to

 not engage in misconduct or criminality in connection with his remaining significant

 restitution obligations. Absent continued oversight by this Court and the Probation

 office, it appears that Kilpatrick could revert to form even more quickly. On these

 grounds, Kilpatrick’s motion for early termination of supervised release should be

 denied.

                                              Respectfully submitted,

                                              DAWN N. ISON
                                              United States Attorney

                                              s/ David A. Gardey
                                              David A. Gardey
                                              Assistant United States Attorney
                                              211 W. Fort Street, Suite 2001
                                              (313) 226-9591
                                              David.Gardey@usdoj.gov


 Dated: January 13, 2023



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                           CERTIFICATE OF SERVICE

       I hereby certify that on January 13, 2023, I caused the foregoing document

 to be electronically filed with the Clerk of the Court using the ECF system, which

 will send notification of such filing to all ECF participants of record.


                                                s/ David A. Gardey
                                                David A. Gardey
                                                Assistant United States Attorney




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